Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 1 of 19


                                                        EXHIBIT 1

                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 18-CV-24100-COOKE/GOODMAN

   DIGNA VINAS,

                     Plaintiff/Counter Defendant,

   v.

   THE INDEPENDENT ORDER
   OF FORESTERS,

                     Defendant/Counter Plaintiff.
                                                    /

                        PLAINTIFF’S RESPONSES AND OBJECTIONS TO
                       DEFENDANT’S FIRST SET OF INTERROGATORIES

         Plaintiff, DIGNA VINAS, by and through undersigned counsel and pursuant to Rule 33 of

  the Federal Rules of Civil Procedure, hereby gives notice that she has served Responses and

  Objections to Defendant’s, THE INDEPENDENT ORDER OF FORESTERS, First Request Set of

  Interrogatories.

                                     CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY that on March 13, 2020, the undersigned electronically served this
  date to Kristina B. Pett, Esq., Danielle E. Shure, Esq., McDowell Hetherington LLP, 2101 N.W.
  Corporate Blvd. Suite 316, Boca Raton, FL 33431, kristina.pett@mhllp.com,
  Danielle.shure@mhllp.com.

                                                            KRAMER, GREEN, ZUCKERMAN,
                                                            GREENE & BUCHSBAUM, P.A.
                                                            Co-Counsel for Plaintiff
                                                            4000 Hollywood Blvd., Suite 485-S
                                                            Hollywood, FL 33021
                                                            (954) 966-2112 – phone
                                                            (954) 981-1605 - fax

                                                            By:          /s/ Craig M. Greene
                                                                  Craig M. Greene, Esq.
                                                                  Fla. Bar No. 618421
                                                                  cgreene@kramergreen.com
                                                        1
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 2 of 19




                                            and

                                            Adrian Neiman Arkin, Esq.
                                            MINTZ, TRUPPMAN, P.A.
                                            Co-Counsel for Plaintiff
                                            1700 Sans Souci Boulevard
                                            North Miami, FL 33181
                                            (305) 893-5506 – phone
                                            adrianarkin@mintztruppman.com




                                        2
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 3 of 19




                         PLAINTIFF’S RESPONSES AND OBJECTIONS TO
                        DEFENDANT’S FIRST SET OF INTERROGATORIES

                1. Describe with particularity your knowledge of any diagnosis, treatment, testing, or

  consultation with a health care provider of the Decedent relating to diabetes, and secondary

  kidney or sensory problems.

  ANSWER: Objection. This interrogatory is overbroad in time and scope, irrelevant and not
  proportional given the basis for Forester’s denial of Plaintiff’s claim and the issues to be
  addressed in this litigation. Without waiving said objection Plaintiff states:

  I am unaware of Rigo ever being diagnosed with, or being treated for, diabetes or any kidney
  or sensory problems related to diabetes. The only thing even vaguely related to this topic is
  when I believe Rigoberto applied for insurance (in around 2012) and had an exam. The
  examiner for the insurance company told Rigo he had diabetes. Rigo followed up with Dr.
  Kenneth Hershman, who performed some testing, and told Rigo he did not have diabetes. At
  no time prior to my husband’s death, am I aware that he was ever told by a medical provider
  that he had diabetes or secondary kidney or sensory problems. Further, he was never treated
  for any such condition by way of medication or insulin for diabetes. In fact, I understand Dr.
  Hershman told him he didn’t have diabetes.


           2.     For the 10 years preceding January 12, 2015, identify all instances in which the

  Decedent was diagnosed with, or received treatment or medication, tested positive or had been

  given medical advice for diabetes of which you are aware. For each identified instance, please

  specify the: (a) date; (b) the name of the provider; and (c) the provider’s address.

  ANSWER: Objection. This interrogatory is overbroad in time and scope, irrelevant and not
  proportional given the basis for Forester’s denial of Plaintiff’s claim and the issues to be
  addressed in this litigation. See Archer v. City of Winter Haven, 2017 WL 3840435 *2 (M.D.
  Fla. 2017) (medical information and records sought over a ten year period was not an
  appropriate timeframe and not proportionate to the needs of this case); In re: Takata Airbag
  Products Liability Litigation, 2016 WL 1460143 (S.D. Florida 2016) (The recently amended
  Rule 26(b)(1) of the Federal Rules of Civil Procedure “crystalizes the concept of reasonable
  limits on discovery through increased reliance on the common-sense concept of
  proportionality.” Chief Justice John Roberts, 2015 Year–End Report on the Federal
  Judiciary 6 (2015)). Without waiving said objection Plaintiff states:

  I am unaware of Rigo ever being diagnosed with, or being treated for, diabetes or any kidney
  or sensory problems related to diabetes. The only thing even vaguely related to this topic is
  when I believe Rigoberto applied for insurance (in around 2012) and had an exam. The

                                                    3
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 4 of 19




  examiner for the insurance company told Rigo he had diabetes. Rigo followed up with Dr.
  Kenneth Hershman, who performed some testing, and told Rigo he did not have diabetes. At
  no time prior to my husband’s death, am I aware that he was ever told by a medical provider
  that he had diabetes or secondary kidney or sensory problems. Further, he was never treated
  for any such condition by way of medication or insulin for diabetes. In fact, I understand Dr.
  Hershman told him he didn’t have diabetes.


         3.       For the 10 years preceding January 12, 2015, identify all instances in which the

  Decedent was diagnosed with, or received treatment or medication, tested positive or had been

  given medical advice for kidney problems secondary to diabetes of which you are aware. For each

  identified instance, please specify the: (a) date; (b) the name of the provider; and (c) the provider’s

  address.

  ANSWER: Objection. This interrogatory is overbroad in time and scope, irrelevant and not
  proportional given the basis for Forester’s denial of Plaintiff’s claim and the issues to be
  addressed in this litigation. See Archer v. City of Winter Haven, 2017 WL 3840435 *2 (M.D.
  Fla. 2017) (medical information and records sought over a ten year period was not an
  appropriate timeframe and not proportionate to the needs of this case); In re: Takata Airbag
  Products Liability Litigation, 2016 WL 1460143 (S.D. Florida 2016) (The recently amended
  Rule 26(b)(1) of the Federal Rules of Civil Procedure “crystalizes the concept of reasonable
  limits on discovery through increased reliance on the common-sense concept of
  proportionality.” Chief Justice John Roberts, 2015 Year–End Report on the Federal
  Judiciary 6 (2015)). Without waiving said objection Plaintiff states:

  I am unaware of Rigo ever being diagnosed with, or being treated for, diabetes or any kidney
  or sensory problems related to diabetes. The only thing even vaguely related to this topic is
  when I believe Rigoberto applied for insurance (in around 2012) and had an exam. The
  examiner for the insurance company told Rigo he had diabetes. Rigo followed up with Dr.
  Kenneth Hershman, who performed some testing, and told Rigo he did not have diabetes. At
  no time prior to my husband’s death, am I aware that he was ever told by a medical provider
  that he had diabetes or secondary kidney or sensory problems. Further, he was never treated
  for any such condition by way of medication or insulin for diabetes. In fact, I understand Dr.
  Hershman told him he didn’t have diabetes.


             4.   For the 10 years preceding January 12, 2015, identify all instances in which the

  Decedent was diagnosed with, or received treatment or medication, tested positive or had been

  given medical advice for sensory problems secondary to diabetes of which you are aware. For

  each identified instance, please specify the: (a) date; (b) the name of the provider; and (c) the
                                                   4
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 5 of 19




  provider’s address.

  ANSWER: Objection. This interrogatory is overbroad in time and scope, irrelevant and not
  proportional given the basis for Forester’s denial of Plaintiff’s claim and the issues to be
  addressed in this litigation. See Archer v. City of Winter Haven, 2017 WL 3840435 *2 (M.D.
  Fla. 2017) (medical information and records sought over a ten year period was not an
  appropriate timeframe and not proportionate to the needs of this case); In re: Takata Airbag
  Products Liability Litigation, 2016 WL 1460143 (S.D. Florida 2016) (The recently amended
  Rule 26(b)(1) of the Federal Rules of Civil Procedure “crystalizes the concept of reasonable
  limits on discovery through increased reliance on the common-sense concept of
  proportionality.” Chief Justice John Roberts, 2015 Year–End Report on the Federal
  Judiciary 6 (2015)). Without waiving said objection Plaintiff states:

  I am unaware of Rigo ever being diagnosed with, or being treated for, diabetes or any kidney
  or sensory problems related to diabetes. The only thing even vaguely related to this topic is
  when I believe Rigoberto applied for insurance (in around 2012) and had exam. The
  examiner for the insurance company told Rigo he had diabetes. Rigo followed up with Dr.
  Kenneth Hershman, who performed some testing, and told Rigo he did not have diabetes. At
  no time prior to my husband’s death, am I aware that he was ever told by a medical provider
  that he had diabetes or secondary kidney or sensory problems. Further, he was never treated
  for any such condition by way of medication or insulin for diabetes. In fact, I understand Dr.
  Hershman told him he didn’t have diabetes.


         5.    For the 10 years preceding January 12, 2015, identify all medications, supplements,

  or natural or herbal treatments used by the Decedent of which you are aware, and any pharmacies

  from which the Decedent obtained them. For each item identified, please specify: (a) the name; (b)

  the time period(s) Decedent used the medication, supplement, and/or natural or herbal treatments;

  and (c) the reason(s) for the Decedent using the medication, supplement, and/or natural or herbal

  treatment

  ANSWER: Objection. This interrogatory is overbroad in time and scope, irrelevant and not
  proportional given the basis for Forester’s denial of Plaintiff’s claim and the issues to be
  addressed in this litigation. See Archer v. City of Winter Haven, 2017 WL 3840435 *2 (M.D.
  Fla. 2017) (medical information and records sought over a ten year period was not an
  appropriate timeframe and not proportionate to the needs of this case); In re: Takata Airbag
  Products Liability Litigation, 2016 WL 1460143 (S.D. Florida 2016) (The recently amended
  Rule 26(b)(1) of the Federal Rules of Civil Procedure “crystalizes the concept of reasonable
  limits on discovery through increased reliance on the common-sense concept of
  proportionality.” Chief Justice John Roberts, 2015 Year–End Report on the Federal
  Judiciary 6 (2015)). Without waiving said objection Plaintiff states:

                                                  5
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 6 of 19




  Vinas sued Forester’s for Breach of Contract as a result of Forester’s denial of her life
  insurance claim. Forester’s denial and defense in this case was based upon its assertion that
  Mr. Vinas made an alleged misrepresentation relating to diabetes and/or kidney/sensory
  problems secondary to diabetes. (Foresters Answer Defenses and Counterclaim D.E. 34 Pg. 9
  ¶18). The present interrogatory which inquires about all medications, supplements, or
  natural or herbal treatments used by the Decedent from 2005 through 2015, is completely
  irrelevant to either Vinas’ claim for Breach of Contract or Defendant’s defense that Vinas
  failed to provide his best knowledge and belief as to diabetes, diabetic neuropathy and/or
  nephropathy in the January 15, 2015 application. See Glatter v. MCS Cruises, S.A., 2019 WL
  1300896 *1, 4 (S.D. Fla. 2019) (“the determination of what is relevant for discovery purposes
  depends on the parties’ claims and defenses”); Viking Yacht Co. v. Affiliated FM Ins. Co.,
  2008 WL 8715540 (S.D. Fla. 2008) citing Food Lion, Inc. v. United Food & Commercial
  Workers Intern. Union, 103 F.3d 1007, 1012–13 (C.A.D.C.1997) (quoting Broadway and
  Ninety Sixth Street Realty Co. v. Loew's Inc., 21 F.R.D. 347, 352 (S.D.N.Y.1958)) (Courts
  have long held that “[w]hile the standard of relevancy [in discovery] is a liberal one, it is not
  so liberal as to allow a party to ‘roam in the shadow zones of relevancy and to explore matter
  which does not presently appear germane on the theory that it might conceivably become
  so.”); Federal Rule of Civil Procedure, Rule 26(b)(1) Committee Comments (The Rule was
  amended in 2000 and signals to the court that it has the authority to confine discovery to the
  claims and defenses asserted in the pleadings, and signals to the parties that they have no
  entitlement to discovery to develop new claims or defenses that are not already identified in
  the pleadings).

  Without waiving, and consistent with, the above objections, I am unaware of my husband
  taking any medications, supplements, natural or herbal treatments related to diabetes or
  secondary kidney/sensory problems as Rigo was never told he had such conditions.

         6.     For the 10 years preceding January 12, 2015, identify any and all medical conditions

  of which you are aware for which the Decedent was diagnosed, received treatment, or consulted a

  medical professional or health care provider. For each identified instance, please specify (a) the

  time period(s) the Decedent suffered from the condition; (b) the name of the provider; and (c) the

  provider’s address.

  ANSWER: Objection. This interrogatory is overbroad in time and scope, irrelevant and not
  proportional given the basis for Forester’s denial of Plaintiff’s claim and the issues to be
  addressed in this litigation. See Archer v. City of Winter Haven, 2017 WL 3840435 *2 (M.D.
  Fla. 2017) (medical information and records sought over a ten year period was not an
  appropriate timeframe and not proportionate to the needs of this case); In re: Takata Airbag
  Products Liability Litigation, 2016 WL 1460143 (S.D. Florida 2016) (The recently amended
  Rule 26(b)(1) of the Federal Rules of Civil Procedure “crystalizes the concept of reasonable
  limits on discovery through increased reliance on the common-sense concept of
  proportionality.” Chief Justice John Roberts, 2015 Year–End Report on the Federal
  Judiciary 6 (2015)). Without waiving said objection Plaintiff states:
                                                 6
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 7 of 19




  Vinas sued Forester’s for Breach of Contract as a result of Forester’s denial of her life
  insurance claim. Forester’s denial and defense in this case was based upon its assertion that
  Mr. Vinas made an alleged misrepresentation relating to diabetes and/or kidney/sensory
  problems secondary to diabetes. (Foresters Answer Defenses and Counterclaim D.E. 34 Pg. 9
  ¶18). The present interrogatory, which inquires about all medications, supplements, or
  natural or herbal treatments used by the Decedent from 2005 through 2015, is completely
  irrelevant to either Vinas’ claim for Breach of Contract or Defendant’s defense that Vinas
  failed to provide his best knowledge and belief as to diabetes, diabetic neuropathy and/or
  nephropathy in the January 15, 2015 application. See Glatter v. MCS Cruises, S.A., 2019 WL
  1300896 *1, 4 (S.D. Fla. 2019) (“the determination of what is relevant for discovery purposes
  depends on the parties’ claims and defenses”); Viking Yacht Co. v. Affiliated FM Ins. Co.,
  2008 WL 8715540 (S.D. Fla. 2008) citing Food Lion, Inc. v. United Food & Commercial
  Workers Intern. Union, 103 F.3d 1007, 1012–13 (C.A.D.C.1997) (quoting Broadway and
  Ninety Sixth Street Realty Co. v. Loew's Inc., 21 F.R.D. 347, 352 (S.D.N.Y.1958)) (Courts
  have long held that “[w]hile the standard of relevancy [in discovery] is a liberal one, it is not
  so liberal as to allow a party to ‘roam in the shadow zones of relevancy and to explore matter
  which does not presently appear germane on the theory that it might conceivably become
  so.”); Federal Rule of Civil Procedure, Rule 26(b)(1) Committee Comments (The Rule was
  amended in 2000 and signals to the court that it has the authority to confine discovery to the
  claims and defenses asserted in the pleadings, and signals to the parties that they have no
  entitlement to discovery to develop new claims or defenses that are not already identified in
  the pleadings).
  The present interrogatory seeks information related to medical conditions totally unrelated to
  diabetes or kidney/sensory problems secondary to a diabetes. As such, it is wholly irrelevant
  to the claims and defenses in the case and not proportional to the present litigation.

  Without waiving, and consistent with, the above objections, I am unaware of my husband
  being diagnosed with, receiving treatment for, or consulting a medical professional or health
  care provider about, any specific medical condition other than as addressed in answer to
  interrogatory number one above.

         7.      For the 10 years preceding January 12, 2015, identify all doctors, physicians,

  therapists, or other health care providers with whom the Decedent consulted of which you are

  aware. For each individual identified, include: (a) the date(s) the Decedent saw, consulted with, or

  was treated by the health care professional; (b) the reason for the treatment or consultation; and (c)

  the health care professional’s address.

  ANSWER: Objection. This interrogatory is overbroad in time and scope, irrelevant and not
  proportional given the basis for Forester’s denial of Plaintiff’s claim and the issues to be
  addressed in this litigation. See Archer v. City of Winter Haven, 2017 WL 3840435 *2 (M.D.
  Fla. 2017) (medical information and records sought over a ten year period was not an
  appropriate timeframe and not proportionate to the needs of this case); In re: Takata Airbag
                                                 7
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 8 of 19




  Products Liability Litigation, 2016 WL 1460143 (S.D. Florida 2016) (The recently amended
  Rule 26(b)(1) of the Federal Rules of Civil Procedure “crystalizes the concept of reasonable
  limits on discovery through increased reliance on the common-sense concept of
  proportionality.” Chief Justice John Roberts, 2015 Year–End Report on the Federal
  Judiciary 6 (2015)). Without waiving said objection Plaintiff states:

  Vinas sued Forester’s for Breach of Contract as a result of Forester’s denial of her life
  insurance claim. Forester’s denial and defense in this case was based upon its assertion that
  Mr. Vinas made an alleged misrepresentation relating to diabetes and/or kidney/sensory
  problems secondary to diabetes. (Foresters Answer Defenses and Counterclaim D.E. 34 Pg. 9
  ¶18). The present interrogatory, which inquires about all medications, supplements, or
  natural or herbal treatments used by the Decedent from 2005 through 2015, is completely
  irrelevant to either Vinas’ claim for Breach of Contract or Defendant’s defense that Vinas
  failed to provide his best knowledge and belief as to diabetes, diabetic neuropathy and/or
  nephropathy in the January 15, 2015 application. See Glatter v. MCS Cruises, S.A., 2019 WL
  1300896 *1, 4 (S.D. Fla. 2019) (“the determination of what is relevant for discovery purposes
  depends on the parties’ claims and defenses”); Viking Yacht Co. v. Affiliated FM Ins. Co.,
  2008 WL 8715540 (S.D. Fla. 2008) citing Food Lion, Inc. v. United Food & Commercial
  Workers Intern. Union, 103 F.3d 1007, 1012–13 (C.A.D.C.1997) (quoting Broadway and
  Ninety Sixth Street Realty Co. v. Loew's Inc., 21 F.R.D. 347, 352 (S.D.N.Y.1958)) (Courts
  have long held that “[w]hile the standard of relevancy [in discovery] is a liberal one, it is not
  so liberal as to allow a party to ‘roam in the shadow zones of relevancy and to explore matter
  which does not presently appear germane on the theory that it might conceivably become
  so.”); Federal Rule of Civil Procedure, Rule 26(b)(1) Committee Comments (The Rule was
  amended in 2000 and signals to the court that it has the authority to confine discovery to the
  claims and defenses asserted in the pleadings, and signals to the parties that they have no
  entitlement to discovery to develop new claims or defenses that are not already identified in
  the pleadings).

  The present interrogatory seeks information related to medical conditions totally unrelated to
  diabetes or kidney/sensory problems secondary to a diabetes. As such, it is wholly irrelevant
  to the claims and defenses in the case and not proportional to the present litigation.

  Without waiving, and consistent with, the above objection, the only doctor I know Rigo went
  to was Dr. Kenneth Hershman for regular checkups. I cannot recall the exact dates that he
  saw Dr. Hershman.

  Dr. Hershman’s name and address is: Kenneth Hershman, Hershman Medical Center, 13400
  SW 120th St., #300a, Miami, FL 33186.

          8.   For the 10 years preceding January 12, 2015, identify any and all occasions in which

  you accompanied the Decedent to any health care facility for diagnosis, treatment, testing, or

  consultation, including: (a) the date; (b) the name and address of the health care facility; (c) the

  name of the treating doctor; and (d) the symptoms resulting in the visit.
                                                  8
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 9 of 19




  ANSWER: Objection. This interrogatory is overbroad in time and scope, irrelevant and not
  proportional given the basis for Forester’s denial of Plaintiff’s claim and the issues to be
  addressed in this litigation. See Archer v. City of Winter Haven, 2017 WL 3840435 *2 (M.D.
  Fla. 2017) (medical information and records sought over a ten year period was not an
  appropriate timeframe and not proportionate to the needs of this case); In re: Takata Airbag
  Products Liability Litigation, 2016 WL 1460143 (S.D. Florida 2016) (The recently amended
  Rule 26(b)(1) of the Federal Rules of Civil Procedure “crystalizes the concept of reasonable
  limits on discovery through increased reliance on the common-sense concept of
  proportionality.” Chief Justice John Roberts, 2015 Year–End Report on the Federal
  Judiciary 6 (2015)). Without waiving said objection Plaintiff states:

  Vinas sued Forester’s for Breach of Contract as a result of Forester’s denial of her life
  insurance claim. Forester’s denial and defense in this case was based upon its assertion that
  Mr. Vinas made an alleged misrepresentation relating to diabetes and/or kidney/sensory
  problems secondary to diabetes. (Foresters Answer Defenses and Counterclaim D.E. 34 Pg. 9
  ¶18). The present interrogatory, which inquires about all medications, supplements, or
  natural or herbal treatments used by the Decedent from 2005 through 2015, is completely
  irrelevant to either Vinas’ claim for Breach of Contract or Defendant’s defense that Vinas
  failed to provide his best knowledge and belief as to diabetes, diabetic neuropathy and/or
  nephropathy in the January 15, 2015 application. See Glatter v. MCS Cruises, S.A., 2019 WL
  1300896 *1, 4 (S.D. Fla. 2019) (“the determination of what is relevant for discovery purposes
  depends on the parties’ claims and defenses”); Viking Yacht Co. v. Affiliated FM Ins. Co.,
  2008 WL 8715540 (S.D. Fla. 2008) citing Food Lion, Inc. v. United Food & Commercial
  Workers Intern. Union, 103 F.3d 1007, 1012–13 (C.A.D.C.1997) (quoting Broadway and
  Ninety Sixth Street Realty Co. v. Loew's Inc., 21 F.R.D. 347, 352 (S.D.N.Y.1958)) (Courts
  have long held that “[w]hile the standard of relevancy [in discovery] is a liberal one, it is not
  so liberal as to allow a party to ‘roam in the shadow zones of relevancy and to explore matter
  which does not presently appear germane on the theory that it might conceivably become
  so.”); Federal Rule of Civil Procedure, Rule 26(b)(1) Committee Comments (The Rule was
  amended in 2000 and signals to the court that it has the authority to confine discovery to the
  claims and defenses asserted in the pleadings, and signals to the parties that they have no
  entitlement to discovery to develop new claims or defenses that are not already identified in
  the pleadings).

  The present interrogatory seeks information related to medical conditions totally unrelated to
  diabetes or kidney/sensory problems secondary to a diabetes. As such, it is wholly irrelevant
  to the claims and defenses in the case and not proportional to the present litigation.

  Without waiving, and consistent with, the above objection I did not go with Rigo to his
  appointments with Doctor Hershman.

          9.   Please state, to the best of your knowledge, and in as much detail as possible, the

  circumstances surrounding the letter dated January 22, 2015, prepared by Dr. Kenneth Hershman,

  and sent to Foresters, indicating that the Decedent was in “good health” and was not taking any

                                                 9
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 10 of 19




   diabetes medication.

    ANSWER: The letter from Dr. Hershman was obtained at the recommendation of Jasmine,
    the agent that sold us the Forester policy.

          10.   Identify all policies of health insurance insuring the Decedent within the 10 years

   preceding January 12, 2015. For each policy identified, please provide: (a) the name of the

   insurer(s); (b) the policy number(s); (c) the date(s) of coverage; and (d) whether coverage was

   provided under a group employer program and, if so, the name of the group employer.

   ANSWER: Objection. This interrogatory is overbroad in time and scope, irrelevant and not
   proportional given the basis for Forester’s denial of Plaintiff’s claim and the issues to be
   addressed in this litigation. See Archer v. City of Winter Haven, 2017 WL 3840435 *2 (M.D.
   Fla. 2017) (medical information and records sought over a ten year period was not an
   appropriate timeframe and not proportionate to the needs of this case); In re: Takata Airbag
   Products Liability Litigation, 2016 WL 1460143 (S.D. Florida 2016) (The recently amended
   Rule 26(b)(1) of the Federal Rules of Civil Procedure “crystalizes the concept of reasonable
   limits on discovery through increased reliance on the common-sense concept of
   proportionality.” Chief Justice John Roberts, 2015 Year–End Report on the Federal
   Judiciary 6 (2015)). Without waiving said objection, Plaintiff states:

   Vinas sued Forester’s for Breach of Contract as a result of Forester’s denial of her life
   insurance claim. Forester’s denial and defense in this case was based upon its assertion that
   Mr. Vinas made an alleged misrepresentation relating to diabetes and/or kidney/sensory
   problems secondary to diabetes. (Foresters Answer Defenses and Counterclaim D.E. 34 Pg. 9
   ¶18). The present interrogatory, which inquires about all medications, supplements, or
   natural or herbal treatments used by the Decedent from 2005 through 2015, is completely
   irrelevant to either Vinas’ claim for Breach of Contract or Defendant’s defense that Vinas
   failed to provide his best knowledge and belief as to diabetes, diabetic neuropathy and/or
   nephropathy in the January 15, 2015 application. See Glatter v. MCS Cruises, S.A., 2019 WL
   1300896 *1, 4 (S.D. Fla. 2019) (“the determination of what is relevant for discovery purposes
   depends on the parties’ claims and defenses”); Viking Yacht Co. v. Affiliated FM Ins. Co.,
   2008 WL 8715540 (S.D. Fla. 2008) citing Food Lion, Inc. v. United Food & Commercial
   Workers Intern. Union, 103 F.3d 1007, 1012–13 (C.A.D.C.1997) (quoting Broadway and
   Ninety Sixth Street Realty Co. v. Loew's Inc., 21 F.R.D. 347, 352 (S.D.N.Y.1958)) (Courts
   have long held that “[w]hile the standard of relevancy [in discovery] is a liberal one, it is not
   so liberal as to allow a party to ‘roam in the shadow zones of relevancy and to explore matter
   which does not presently appear germane on the theory that it might conceivably become
   so.”); Federal Rule of Civil Procedure, Rule 26(b)(1) Committee Comments (The Rule was
   amended in 2000 and signals to the court that it has the authority to confine discovery to the
   claims and defenses asserted in the pleadings, and signals to the parties that they have no
   entitlement to discovery to develop new claims or defenses that are not already identified in
   the pleadings).

                                                  10
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 11 of 19




   The present interrogatory asks Plaintiff to provide information totally unrelated to diabetes
   or kidney/sensory problems secondary to a diabetes. As such, it is wholly irrelevant to the
   claims and defenses in the case and not proportional to the present litigation.

   Without waiving, and consistent with, the above objection, I believe Rigo had a Humana
   Policy. I do not recall the policy number.

           11.   Identify all life insurance companies to which the Decedent or Plaintiff submitted

   any application for coverage on the Decedent’s life since January 12, 2005. Your answer should

   include the following information: (a) insurer name and contract information; (b) date of

   application; (c) amount of life insurance requested; and (d) date of application acceptance or

   rejection (indicate which).

   ANSWER: Objection. This interrogatory is overbroad in time and scope, irrelevant and not
   proportional given the basis for Forester’s denial of Plaintiff’s claim and the issues to be
   addressed in this litigation. See Archer v. City of Winter Haven, 2017 WL 3840435 *2 (M.D.
   Fla. 2017) (medical information and records sought over a ten year period was not an
   appropriate timeframe and not proportionate to the needs of this case); In re: Takata Airbag
   Products Liability Litigation, 2016 WL 1460143 (S.D. Florida 2016) (The recently amended
   Rule 26(b)(1) of the Federal Rules of Civil Procedure “crystalizes the concept of reasonable
   limits on discovery through increased reliance on the common-sense concept of
   proportionality.” Chief Justice John Roberts, 2015 Year–End Report on the Federal
   Judiciary 6 (2015)). Without waiving said objection Plaintiff states:

   Vinas sued Forester’s for Breach of Contract as a result of Forester’s denial of her life
   insurance claim. Forester’s denial and defense in this case was based upon its assertion that
   Mr. Vinas made an alleged misrepresentation relating to diabetes and/or kidney/sensory
   problems secondary to diabetes. (Foresters Answer Defenses and Counterclaim D.E. 34 Pg. 9
   ¶18). The present interrogatory, which inquires about all medications, supplements, or
   natural or herbal treatments used by the Decedent from 2005 through 2015, is completely
   irrelevant to either Vinas’ claim for Breach of Contract or Defendant’s defense that Vinas
   failed to provide his best knowledge and belief as to diabetes, diabetic neuropathy and/or
   nephropathy in the January 15, 2015 application. See Glatter v. MCS Cruises, S.A., 2019 WL
   1300896 *1, 4 (S.D. Fla. 2019) (“the determination of what is relevant for discovery purposes
   depends on the parties’ claims and defenses”); Viking Yacht Co. v. Affiliated FM Ins. Co.,
   2008 WL 8715540 (S.D. Fla. 2008) citing Food Lion, Inc. v. United Food & Commercial
   Workers Intern. Union, 103 F.3d 1007, 1012–13 (C.A.D.C.1997) (quoting Broadway and
   Ninety Sixth Street Realty Co. v. Loew's Inc., 21 F.R.D. 347, 352 (S.D.N.Y.1958)) (Courts
   have long held that “[w]hile the standard of relevancy [in discovery] is a liberal one, it is not
   so liberal as to allow a party to ‘roam in the shadow zones of relevancy and to explore matter
   which does not presently appear germane on the theory that it might conceivably become
   so.”); Federal Rule of Civil Procedure, Rule 26(b)(1) Committee Comments (The Rule was
   amended in 2000 and signals to the court that it has the authority to confine discovery to the
                                                   11
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 12 of 19




   claims and defenses asserted in the pleadings, and signals to the parties that they have no
   entitlement to discovery to develop new claims or defenses that are not already identified in
   the pleadings).

   More specifically, what other life insurance carriers the Decedent applied to, when, the
   amount requested and whether the application was accepted or rejected is completely
   irrelevant to Defendant’s denial of coverage here.

   Without waiving, and consistent with, the above objection, I believe that sometime in 2012,
   Rigo applied for insurance. I believe the name of insurance carrier was United States Life
   Insurance. I cannot recall any additional details.

           12.   If the Decedent ever applied for benefits under any life policy, under than the

   Certificate, please provide: (a) the date(s) of notice of each such claim or application for these

   benefits; (b) the results of each such claim or application; and (c) the sum(s) of money paid or

   award for each such claim or application.

   ANSWER: Objection. This interrogatory is overbroad in time and scope, irrelevant and not
   proportional given the basis for Forester’s denial of Plaintiff’s claim and the issues to be
   addressed in this litigation. See Archer v. City of Winter Haven, 2017 WL 3840435 *2 (M.D.
   Fla. 2017) (medical information and records sought over a ten year period was not an
   appropriate timeframe and not proportionate to the needs of this case); In re: Takata Airbag
   Products Liability Litigation, 2016 WL 1460143 (S.D. Florida 2016) (The recently amended
   Rule 26(b)(1) of the Federal Rules of Civil Procedure “crystalizes the concept of reasonable
   limits on discovery through increased reliance on the common-sense concept of
   proportionality.” Chief Justice John Roberts, 2015 Year–End Report on the Federal
   Judiciary 6 (2015)). Without waiving said objection Plaintiff states:

   Vinas sued Forester’s for Breach of Contract as a result of Forester’s denial of her life
   insurance claim. Forester’s denial and defense in this case was based upon its assertion that
   Mr. Vinas made an alleged misrepresentation relating to diabetes and/or kidney/sensory
   problems secondary to diabetes. (Foresters Answer Defenses and Counterclaim D.E. 34 Pg. 9
   ¶18). The present interrogatory, which inquires about all medications, supplements, or
   natural or herbal treatments used by the Decedent from 2005 through 2015, is completely
   irrelevant to either Vinas’ claim for Breach of Contract or Defendant’s defense that Vinas
   failed to provide his best knowledge and belief as to diabetes, diabetic neuropathy and/or
   nephropathy in the January 15, 2015 application. See Glatter v. MCS Cruises, S.A., 2019 WL
   1300896 *1, 4 (S.D. Fla. 2019) (“the determination of what is relevant for discovery purposes
   depends on the parties’ claims and defenses”); Viking Yacht Co. v. Affiliated FM Ins. Co.,
   2008 WL 8715540 (S.D. Fla. 2008) citing Food Lion, Inc. v. United Food & Commercial
   Workers Intern. Union, 103 F.3d 1007, 1012–13 (C.A.D.C.1997) (quoting Broadway and
   Ninety Sixth Street Realty Co. v. Loew's Inc., 21 F.R.D. 347, 352 (S.D.N.Y.1958)) (Courts
   have long held that “[w]hile the standard of relevancy [in discovery] is a liberal one, it is not
   so liberal as to allow a party to ‘roam in the shadow zones of relevancy and to explore matter
                                                   12
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 13 of 19




   which does not presently appear germane on the theory that it might conceivably become
   so.”); Federal Rule of Civil Procedure, Rule 26(b)(1) Committee Comments (The Rule was
   amended in 2000 and signals to the court that it has the authority to confine discovery to the
   claims and defenses asserted in the pleadings, and signals to the parties that they have no
   entitlement to discovery to develop new claims or defenses that are not already identified in
   the pleadings).

   More specifically, what other life insurance carriers the Decedent applied to, when, the
   amount requested and whether the application was accepted or rejected is completely
   irrelevant to Defendant’s denial of coverage here.

   Without waiving, and consistent with the above objection, none.


           13.   If You ever applied for benefits under any life policy, other than the Certificate,

   please provide: (a) the date(s) of notice of each such claim or application for these benefits; (b)

   the results of each such claim or application; and (c) the sum(s) of money paid or award for each

   such claim or application.

   ANSWER: Objection. This interrogatory is overbroad in time and scope, irrelevant and not
   proportional given the basis for Forester’s denial of Plaintiff’s claim and the issues to be
   addressed in this litigation. See Archer v. City of Winter Haven, 2017 WL 3840435 *2 (M.D.
   Fla. 2017) (medical information and records sought over a ten year period was not an
   appropriate timeframe and not proportionate to the needs of this case); In re: Takata Airbag
   Products Liability Litigation, 2016 WL 1460143 (S.D. Florida 2016) (The recently amended
   Rule 26(b)(1) of the Federal Rules of Civil Procedure “crystalizes the concept of reasonable
   limits on discovery through increased reliance on the common-sense concept of
   proportionality.” Chief Justice John Roberts, 2015 Year–End Report on the Federal
   Judiciary 6 (2015)). Without waiving said objection Plaintiff states:

   Vinas sued Forester’s for Breach of Contract as a result of Forester’s denial of her life
   insurance claim. Forester’s denial and defense in this case was based upon its assertion that
   Mr. Vinas made an alleged misrepresentation relating to diabetes and/or kidney/sensory
   problems secondary to diabetes. (Foresters Answer Defenses and Counterclaim D.E. 34 Pg. 9
   ¶18). The present interrogatory, which inquires about all medications, supplements, or
   natural or herbal treatments used by the Decedent from 2005 through 2015, is completely
   irrelevant to either Vinas’ claim for Breach of Contract or Defendant’s defense that Vinas
   failed to provide his best knowledge and belief as to diabetes, diabetic neuropathy and/or
   nephropathy in the January 15, 2015 application. See Glatter v. MCS Cruises, S.A., 2019 WL
   1300896 *1, 4 (S.D. Fla. 2019) (“the determination of what is relevant for discovery purposes
   depends on the parties’ claims and defenses”); Viking Yacht Co. v. Affiliated FM Ins. Co.,
   2008 WL 8715540 (S.D. Fla. 2008) citing Food Lion, Inc. v. United Food & Commercial
   Workers Intern. Union, 103 F.3d 1007, 1012–13 (C.A.D.C.1997) (quoting Broadway and
   Ninety Sixth Street Realty Co. v. Loew's Inc., 21 F.R.D. 347, 352 (S.D.N.Y.1958)) (Courts
                                                     13
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 14 of 19




   have long held that “[w]hile the standard of relevancy [in discovery] is a liberal one, it is not
   so liberal as to allow a party to ‘roam in the shadow zones of relevancy and to explore matter
   which does not presently appear germane on the theory that it might conceivably become
   so.”); Federal Rule of Civil Procedure, Rule 26(b)(1) Committee Comments (The Rule was
   amended in 2000 and signals to the court that it has the authority to confine discovery to the
   claims and defenses asserted in the pleadings, and signals to the parties that they have no
   entitlement to discovery to develop new claims or defenses that are not already identified in
   the pleadings).

   More specifically, what other life insurance carriers Mrs. Vinas applied for/to, when, the
   amount requested and whether the application was accepted or rejected is completely
   irrelevant to Defendant’s denial of coverage here.

          14.   Identify all policies of disability insurance insuring the Decedent within the 10 years

   preceding January 12, 2015. For each policy identified, please provide: (a) the name of the

   insurer(s); (b) the policy number(s); (c) the date(s) of coverage; and (d) whether coverage was

   provided under a group employer program and, if so, the name of the group employer.

   ANSWER: Objection. This interrogatory is overbroad in time and scope, irrelevant and not
   proportional given the basis for Forester’s denial of Plaintiff’s claim and the issues to be
   addressed in this litigation. See Archer v. City of Winter Haven, 2017 WL 3840435 *2 (M.D.
   Fla. 2017) (medical information and records sought over a ten year period was not an
   appropriate timeframe and not proportionate to the needs of this case); In re: Takata Airbag
   Products Liability Litigation, 2016 WL 1460143 (S.D. Florida 2016) (The recently amended
   Rule 26(b)(1) of the Federal Rules of Civil Procedure “crystalizes the concept of reasonable
   limits on discovery through increased reliance on the common-sense concept of
   proportionality.” Chief Justice John Roberts, 2015 Year–End Report on the Federal
   Judiciary 6 (2015)). Without waiving said objection Plaintiff states:

   Vinas sued Forester’s for Breach of Contract as a result of Forester’s denial of her life
   insurance claim. Forester’s denial and defense in this case was based upon its assertion that
   Mr. Vinas made an alleged misrepresentation relating to diabetes and/or kidney/sensory
   problems secondary to diabetes. (Foresters Answer Defenses and Counterclaim D.E. 34 Pg. 9
   ¶18). The present interrogatory, which inquires about all medications, supplements, or
   natural or herbal treatments used by the Decedent from 2005 through 2015, is completely
   irrelevant to either Vinas’ claim for Breach of Contract or Defendant’s defense that Vinas
   failed to provide his best knowledge and belief as to diabetes, diabetic neuropathy and/or
   nephropathy in the January 15, 2015 application. See Glatter v. MCS Cruises, S.A., 2019 WL
   1300896 *1, 4 (S.D. Fla. 2019) (“the determination of what is relevant for discovery purposes
   depends on the parties’ claims and defenses”); Viking Yacht Co. v. Affiliated FM Ins. Co.,
   2008 WL 8715540 (S.D. Fla. 2008) citing Food Lion, Inc. v. United Food & Commercial
   Workers Intern. Union, 103 F.3d 1007, 1012–13 (C.A.D.C.1997) (quoting Broadway and
   Ninety Sixth Street Realty Co. v. Loew's Inc., 21 F.R.D. 347, 352 (S.D.N.Y.1958)) (Courts
   have long held that “[w]hile the standard of relevancy [in discovery] is a liberal one, it is not
                                                   14
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 15 of 19




   so liberal as to allow a party to ‘roam in the shadow zones of relevancy and to explore matter
   which does not presently appear germane on the theory that it might conceivably become
   so.”); Federal Rule of Civil Procedure, Rule 26(b)(1) Committee Comments (The Rule was
   amended in 2000 and signals to the court that it has the authority to confine discovery to the
   claims and defenses asserted in the pleadings, and signals to the parties that they have no
   entitlement to discovery to develop new claims or defenses that are not already identified in
   the pleadings).

   More specifically, what disability insurance the Decedent had is completely irrelevant to
   Defendant’s denial of coverage here.

   Without waiving the objection and subject thereto, my late husband had no disability
   insurance.

           15. If the Decedent ever applied for benefits under any disability policy or other

   insurance policy insuring against disability such as mortgage, auto, or travel insurance; workers’

   compensation benefits; Social Security disability benefits; unemployment benefits; or pension or

   retirement benefits in connection with any alleged disability, please provide: (a) the date(s) of

   notice of each such claim or application for these benefits; (b) the results of each such claim or

   application; (c) the alleged disability for which each such claim was made; (d) the physician or

   other health care practitioner who certified each alleged disability; and (d) the sum(s) of money

   paid or award for each such claim or application.

   ANSWER: Objection. Asked and answered, see response to Interrogatory #14.


           16.   Please identify and describe each and every communication, conversation, or

    meeting You or the Decedent had with Foresters regarding the Application or the Certificate. For

    each identified communication, please specify: (a) the type of communication; (b) date of each

    communication; (c) whether the communication was oral or written; (d) the substance of each

    communication; and whether any documents were exchanged during this communication.

   ANSWER: I spoke with Lisa Buckland who advised that our claim was being denied and that
   I would receive a letter explaining.

          17.    Identify any and all communications and documents relating to or referencing the
                                                   15
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 16 of 19




   Application, any questions and answers given in connection with the Application, or the

   Certificate.

   ANSWER: Objection. This request is overbroad, vague, unclear and confusing. Further, the
   interrogatory requests information that will clearly be protected by the attorney client
   privilege as I’ve discussed this matter with my lawyers in detail.

   Without waiving the above objection and subject thereto, my late husband spoke with Jazmin
   Lightbourn, the insurance agent that sold us the policy. She completed the application for
   individual life insurance. The application reflects what was discussed. Rigo again spoke with
   Ms. Lightbourn additional times about follow up information. I spoke with Ms. Lightbourn
   after Rigo died. She advised me to send his medical records to Foresters.
           18. Please explain the factual basis for Your allegation that the You have sustained

   “consequential damages, including but not limited to [Your] inability to pay necessary monthly

   expenses.” Please identify all documents which support Your allegation.

    ANSWER: The life insurance policy was taken so that I could continue to live without
    worrying about making basic ends meet should my husband pass before me. When the
    insurance company refused to pay on this valid claim for insurance benefits, it left me
    destitute to the point that I am having a hard time to pay my bills on time and for other
    basic necessities. I had no money to bury my husband; needed to sell my own life policy;
    and was forced to sell my jewelry to pay for Rigo’s headstone. On July 22, 2019, Bank of
    America filed a collection lawsuit in relation to my failure to make payments. Case No. 2019-
    015946-CC-23 filed in Miami-Dade County. For privacy and confidentiality concerns, I will
    not provide my bank account information or other bills/credit card statements in this
    response.

           19.    Please explain the factual basis for Your allegation that “as a direct and proximate

   result of Foresters’ failure to timely pay the death benefit to Vinas, Vinas is suffering

   consequential damages of unpaid debts, accruing interest, and defense costs in defense of the

   county court collection and other expenses.” Please identify all documents which support Your

   allegation.

    ANSWER: Objection. Asked and answered. See response to Interrogatory #18.

            20. Please explain the factual basis for Your allegation that the Decedent answered all

   questions on the Application and Questionnaire by “providing information which was true and

   complete . . . to the best of [his] knowledge.” Please identify all documents which support Your
                                                    16
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 17 of 19




   allegation.

   ANSWER: Objection. Not only does this interrogatory not accurately reflect the application
   question, it does not make grammatical sense, as it is impossible to discern exactly what
   Defendant is seeking. The interrogatory also mischaracterization the allegations in the
   Amended Complaint, because it fails to quote the Amended Complaint as drafted, but rather
   paraphrased cherry-picked words. Finally, the interrogatory improperly seeks counsel’s
   litigation strategies and thoughts, and thus, is protected by work product privilege.

   Without waiving the objection and subject thereto, the factual basis for these allegations are
   contained within the deposition questions and answers of Forester’s Corporate
   Representative and witnesses taken on March 4th and 5th 2020, the medical records of Doctor
   Hershman and the fact that Rigo was never told he had diabetes. Since he was never told he
   had diabetes, he did not have, and obviously did not believe he had any conditions secondary
   to diabetes. The documents supporting this allegation are the exhibits to those CR
   depositions and the exhibits to those depositions as well doctor Hershman’s records.

   Plaintiff reserves the right to amend this answer as discovery is on-going.


            21.   Please explain the factual basis for Your allegation that “the information which

   Foresters claims was omitted was not ‘material’ to Foresters’ determination of the risk, and

   Foresters would have issued the identical Policy.” Please identify all documents which support

   Your allegation.

   ANSWER: Objection. Improperly seeks counsel’s litigation strategies and thoughts, and thus,
   is protected by work product privilege.

   Without waiving the objection and subject thereto, the factual basis for these allegations are
   contained within the deposition questions and answers of Forester’s Corporate
   Representative and witnesses taken on March 4th and 5th 2020 as well the medical records of
   Doctor Hershman. The documents supporting this allegation are the exhibits to those CR
   depositions and the exhibits to those depositions as well doctor Hershman’s records.

   Plaintiff reserves the right to amend this answer as discovery is on-going.

          22.     Please explain the factual basis for Your allegation that “Foresters improperly

   interpreted Florida law as applied to the facts of this case to require a higher threshold of accuracy

   than it requested in the original application for insurance and the Diabetes Questionnaire.” Please

   identify all documents which support Your allegation.

                                                     17
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 18 of 19




    ANSWER: Objection. Improperly seeks counsel’s litigation strategies and thoughts, and
    thus, is protected by work product privilege.

    Without waiving the objection and subject thereto, the factual basis for these allegations are
    contained within the deposition questions and answers of Forester’s Corporate
    Representative and witnesses taken on March 4th and 5th 2020 as well the medical records of
    Doctor Hershman. The documents supporting this allegation are the exhibits to those CR
    depositions and the exhibits to those depositions as well doctor Hershman’s records.

    Plaintiff reserves the right to amend this answer as discovery is on-going.




                                                 18
Case 1:18-cv-24100-MGC Document 61-1 Entered on FLSD Docket 03/24/2020 Page 19 of 19




                                                       Digna Vinas

    STATE OF FLORIDA                     )
                                         ) ss.:
    COUNTY OF                            )

           Sworn to and subscribed before me, the undersigned authority, by DIGNA VINAS,

    who is personally known to me or who produced _                         as identification,

    and who states that her responses to Defendant’s First Set of Interrogatories Directed to

    Plaintiff are based on her personal knowledge and that the statements in these responses

    are true and correct.



                                                       (Signature of Notary)


                                                       (Printed Name of Notary)


                                                       Commission Number)




                                                  19
